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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 CASE NO.: 8:21-cv-01837-VMC-JSS

 JACOB R. NIEVES, individually, and on
 behalf of all others similarly situated,

                Plaintiff,
         v.

 PREFERRED COLLECTION &
 MANAGEMENT SERVICES, INC.,


                Defendant.
                                          /

                             NOTICE OF SETTLEMENT

      PLEASE TAKE NOTICE that JACOB R. NIEVES (“Plaintiff”) and

PREFERRED         COLLECTION          &       MANAGEMENT                SERVICES,   INC.

(“Defendant”), hereby notify the Court that the parties have reached settlement as to

Plaintiff’s individual claims only. Plaintiff intends on dismissing the class claims

without prejudice. The parties are in the process of completing the settlement and

intend on filing dismissal papers within 45 days.



 DATED: December 27, 2021                         Respectfully submitted,

                                                  /s/ Alexander J. Taylor

                                                  Alexander J. Taylor, Esq.

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                        CERTIFICATE OF SERVICE

     I, Alexander J. Taylor, certify that on December 27, 2021, the foregoing
document was filed electronically using the Court’s CM/ECF system, which will
accomplish service on all counsel of record.

                                              /s/ Alexander J. Taylor




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